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                                                                 PROBATION
        The defendant is hereby sentenced to probation for a term of:



                                                              IMPRISONMENT
         The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
         150 months. This term of imprisonment consists of a 90-month term imposed on Count 1 and a 60-month term imposed on
         Count 3 of the Indictment, to be serevd consecutively. It is ordered that this term of imprisonment be served consecutively
         to any term of imprisonment that may be imposed in Jo Daviess County, Illinois, Case Nos. 2015DT80 and 2015DT2250,
         pursuant to 18 U.S.C. § 3584.


        The court makes the following recommendations to the Federal Bureau of Prisons:
         It is recommended that the defendant be designated to a Bureau of Prisons facility as close to the defendant’s family as
         possible, commensurate with the defendant’s security and custody classification needs.

         It is recommended that the defendant participate in the Bureau of Prisons’ 500-Hour Comprehensive Residential Drug
         Abuse Treatment Program or an alternate substance abuse treatment program.



        The defendant is remanded to the custody of the United States Marshal.

        The defendant must surrender to the United States Marshal for this district:

            at                                       a.m.         p.m.       on                                                  .

            as notified by the United States Marshal.

        The defendant must surrender for service of sentence at the institution designated by the Federal Bureau of Prisons:

            before 2 p m. on                                               .
            as notified by the United States Marshal.

            as notified by the United States Probation or Pretrial Services Office.

                                                                    RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                           to

at                                                  , with a certified copy of this judgment.


                                                                                                      UNITED STATES MARSHAL



                                                                            By
                                                                                                 DEPUTY UNITED STATES MARSHAL
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                                                        SUPERVISED RELEASE

         Upon release from imprisonment, the defendant will be on supervised release for a term of:
          8 years. This term of supervised release consists of an 8-year term imposed on Count 1 and a 5-year term imposed on
          Count 3 of the Indictment, to be served concurrently.




                                    MANDATORY CONDITIONS OF SUPERVISION

1)    The defendant must not commit another federal, state, or local crime.
2)    The defendant must not unlawfully possess a controlled substance.
3)    The defendant must refrain from any unlawful use of a controlled substance.
      The defendant must submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
      thereafter, as determined by the court.
                 The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
                  future controlled substance abuse. (Check, if applicable.)
4)         The defendant must cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
5)         The defendant must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901,
            et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
            where the defendant resides, works, and/or is a student, and/or was convicted of a qualifying offense. (Check, if applicable.)
6)         The defendant must participate in an approved program for domestic violence. (Check, if applicable.)


The defendant must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
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                                      STANDARD CONDITIONS OF SUPERVISION
As part of the defendant’s supervision, the defendant must comply with the following standard conditions of supervision. These
conditions are imposed because they establish the basic expectations for the defendant’s behavior while on supervision and identify the
minimum tools needed by probation officers to keep informed, report to the court about, and bring about improvements in the defendant’s
conduct and condition.

  1)   The defendant must report to the probation office in the federal judicial district where the defendant is authorized to reside within
       72 hours of the time the defendant was sentenced and/or released from imprisonment, unless the probation officer instructs the
       defendant to report to a different probation office or within a different time frame.
  2)   After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
       about how and when the defendant must report to the probation officer, and the defendant must report to the probation officer as
       instructed. The defendant must also appear in court as required.
  3)   The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
       getting permission from the court or the probation officer.
  4)   The defendant must answer truthfully the questions asked by the defendant’s probation officer.
  5)   The defendant must live at a place approved by the probation officer. If the defendant plans to change where the defendant lives
       or anything about the defendant’s living arrangements (such as the people the defendant lives with), the defendant must notify
       the probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to
       unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a change or
       expected change.
  6)   The defendant must allow the probation officer to visit the defendant at any time at the defendant’s home or elsewhere, and the
       defendant must permit the probation officer to take any items prohibited by the conditions of the defendant’s supervision that he
       or she observes in plain view.
  7)   The defendant must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
       excuses the defendant from doing so. If the defendant does not have full-time employment, the defendant must try to find full-
       time employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change where the
       defendant works or anything about the defendant’s work (such as the defendant’s position or the defendant’s job responsibilities),
       the defendant must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
       days in advance is not possible due to unanticipated circumstances, the defendant must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
  8)   The defendant must not communicate or interact with someone the defendant knows is engaged in criminal activity. If the
       defendant knows someone has been convicted of a felony, the defendant must not knowingly communicate or interact with that
       person without first getting the permission of the probation officer.
  9)   If the defendant is arrested or questioned by a law enforcement officer, the defendant must notify the probation officer within 72
       hours.
10)    The defendant must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
       anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
       nunchakus or tasers).
11)    The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
       informant without first getting the permission of the court.
12)    As directed by the probation officer, the defendant must notify third parties of risks that may be occasioned by the defendant’s
       criminal record or personal history or characteristics and must permit the probation officer to make such notifications and to
       confirm the defendant’s compliance with such notification requirement.
13)    The defendant must follow the instructions of the probation officer related to the conditions of supervision.
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                                       SPECIAL CONDITIONS OF SUPERVISION
The defendant must comply with the following special conditions as ordered by the Court and implemented by the United States Probation
Office:

1.       The defendant must submit the defendant’s person, property, house, residence, vehicle, papers, computers [as
         defined in 18 U.S.C. § 1030(e)(1)], other electronic communications or data storage devices or media, or office,
         to a search conducted by a United States Probation Officer. Failure to submit to a search may be grounds for
         revocation of release. The defendant must warn any other occupants that the premises may be subject to
         searches pursuant to this condition. The United States Probation Office may conduct a search under this
         condition only when reasonable suspicion exists that the defendant has violated a condition of supervision and
         that the areas to be searched contain evidence of this violation. Any search must be conducted at a reasonable
         time and in a reasonable manner.

2.       The defendant must participate in a substance abuse evaluation. The defendant must complete any
         recommended treatment program, which may include a cognitive behavioral group, and follow the rules and
         regulations of the treatment program. The defendant must participate in a program of testing for substance
         abuse. The defendant must not attempt to obstruct or tamper with the testing methods.

3.       The defendant must not use or possess alcohol. The defendant is prohibited from entering any establishment
         that holds itself out to the public to be a bar or tavern without the prior permission of the United States
         Probation Office.

4.       If not employed at a lawful type of employment as deemed appropriate by the United States Probation Office,
         the defendant must participate in employment workshops and report, as directed, to the United States
         Probation Office to provide verification of daily job search results or other employment related activities. In
         the event the defendant fails to secure employment, participate in the employment workshops, or provide
         verification of daily job search results, the defendant may be required to perform up to 20 hours of community
         service per week until employed.




These conditions have been read to me. I fully understand the conditions and have been provided a copy of them. Upon a finding of a
violation of supervision, I understand the Court may: (1) revoke supervision; (2) extend the term of supervision; and/or (3) modify the
condition of supervision.



      Defendant                                                                                                  Date



      United States Probation Officer/Designated Witness                                                         Date
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                                            CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                    Assessment                  JVTA Assessment1                      Fine                        Restitution
     TOTALS                            $ 200                          $0                               $0                             $0

    The determination of restitution is deferred until                    . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
     otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
     victims must be paid before the United States is paid.

Name of Payee                                          Total Loss2                   Restitution Ordered                 Priority or Percentage




TOTALS                              $                                       $

    Restitution amount ordered pursuant to plea agreement $

    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          the interest requirement is waived for the         fine  restitution.
          the interest requirement for the          fine     restitution is modified as follows:
 1
  Justice for Victims of Trafficking Act of 2015, 18 U.S.C. § 3014.
 2
  Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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                                                   SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A        Lump sum payment of $                 200           due immediately, balance due

               not later than                                     , or
               in accordance with                C,          D,            E, or           F below; or

B        Payment to begin immediately (may be combined with                      C,          D, or             F below); or
C        Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                         (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this judgment; or
D        Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                         (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E        Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
F        Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

    Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




    The defendant must pay the cost of prosecution.
    The defendant must pay the following court cost(s):
    The defendant must forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court
costs.
